Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 1 of 25 PageID #:7




                         EXHIBIT A
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 2 of 25 PageID #:8
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 3 of 25 PageID #:9
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 4 of 25 PageID #:10
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 5 of 25 PageID #:11
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 6 of 25 PageID #:12
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 7 of 25 PageID #:13
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 8 of 25 PageID #:14
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 9 of 25 PageID #:15
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 10 of 25 PageID #:16
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 11 of 25 PageID #:17
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 12 of 25 PageID #:18
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 13 of 25 PageID #:19
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 14 of 25 PageID #:20
        Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 15 of 25 PageID #:21


                                         District 1

                                    Case Summary
                                 Case No. 2022L009091


Brian Urlacher -vs- Houston Hair              §   Location
Transplant center, LLC                        §    District 1
                                              §   Judicial Officer
                                              §    Calendar, N
                                              §   Filed on
                                              §    10/07/2022
                                              §   Cook County Attorney Number
                                              §    48525



                                   Case Information

                                                    Case Type: Other Commercial Litigation -
                                                               Jury
                                                   Case Status: 10/07/2022 Pending



                                Assignment Information

 Current Case Assignment
 Case Number 2022L009091
 Court            District 1
 Date Assigned 10/07/2022
 Judicial Officer Calendar, N



                                   Party Information

                                                       Lead Attorneys

Plaintiff   Urlacher, Brian                            Karamanis, James Andreas
                                                       Retained
             c/o Barney & Karamanis, LLP.
                                                       312-553-5300(W)
             180 N. Stetson, Suite 3050
             Chicago, IL 60601
Defendant Houston Hair Transplant center, LLC
         Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 16 of 25 PageID #:22



                             Events and Orders of the Court

01/23/2023    Continued Case Management (9:30 AM) (Judicial Officer: Roberts, Mary
              Colleen)
                Resource: Location L2010 Court Room 2010
                Resource: Location D1 Richard J Daley Center

 12/14/2022
               Case Assigned to Zoom Hearing - Allowed    (Judicial Officer: Roberts, Mary Colleen)
                 Party: Plaintiff Urlacher, Brian


 12/14/2022

File Appearance Or Jury Demand, Answer Or Plead - Allowed -
   (Judicial Officer: Roberts, Mary Colleen)
   Party: Defendant Houston Hair Transplant center, LLC


 12/13/2022   First Time Case Management (9:15 AM) (Judicial Officer: Roberts, Mary
              Colleen)
                Resource: Location L2010 Court Room 2010
                Resource: Location D1 Richard J Daley Center

12/07/2022
               Appoint Special Deputy - Allowed -   (Judicial Officer: Roberts, Mary Colleen)
                 Party: Plaintiff Urlacher, Brian


12/07/2022
               Motion For Appointment Of Special Process Server Filed
                 Party: Plaintiff Urlacher, Brian

12/07/2022
               Summons Issued And Returnable
                 Party: Plaintiff Urlacher, Brian

 11/09/2022
               Electronic Notice Sent
                  Party: Plaintiff Urlacher, Brian
                  Party 2: Attorney Karamanis, James Andreas

 11/09/2022
               Electronic Notice Sent
                  Party: Plaintiff Urlacher, Brian
                  Party 2: Attorney Karamanis, James Andreas
       Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 17 of 25 PageID #:23

11/09/2022
             Electronic Notice Sent
                Party: Plaintiff Urlacher, Brian
                Party 2: Attorney Karamanis, James Andreas

10/07/2022   New Case Filing

10/07/2022
             Other Commercial Litigation Complaint Filed (Jury Demand)
               Party: Plaintiff Urlacher, Brian
               Party 2: Attorney Karamanis, James Andreas
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 18 of 25 PageID #:24
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 19 of 25 PageID #:25
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 20 of 25 PageID #:26
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 21 of 25 PageID #:27
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 22 of 25 PageID #:28
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 23 of 25 PageID #:29
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 24 of 25 PageID #:30
Case: 1:23-cv-00074 Document #: 1-1 Filed: 01/05/23 Page 25 of 25 PageID #:31
